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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

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FEDERAL TRADE COMMISSION, Case No. 2:17-cv-02000-APG-GWF

Plaintiff, ORDER GRANTING IN PART THE
CORP()RATE DEFENDANTS’

v. MOTION FOR LIMITED
MODIFICATION OF ASSET FREEZE
REVMOUNTAIN, LLC, et al., FOR FUNDS TO PAY ATTORNEY’S
FEES

Defendants.
(ECF No. 65)

 

 

The Corporate Defendants move for an order modifying the Preliminary lnj unction with
Asset Freeze (ECF No. 56) to allow for withdrawal of funds to pay the Corporate Defendants’
counsel. The Corporate Defendants contend that because they can appear in court only through
counsel, due process requires that they be allowed to access the receivership funds to pay for
counsel to represent them in this matter. The Corporate Defendants request a one-time payment
of $36,700 to pay for the amount incurred through the preliminary injunction hearing. They also
request a monthly allowance of $30,000 for attorney’s fees.

The F ederal Trade Commission opposes the request, arguing that no court holds that
corporate defendants in civil cases have a constitutional right to use frozen funds to pay for their
defense. The FTC contends that the Corporate Defendants already have counsel who has been
paid at least $50,()00 so far, so there is no concern that the Corporate Defendants will go
unrepresented The FTC also argues that the amounts requested are unreasonable and would
divert receivership funds that should be preserved for distribution to injured consumers Finally,
the FTC contends that any disbursed funds should be used to pay only the Corporate Defendants’
attorney’s fees, not defendant Blair McNea’s fees.

The Receiver also objects, stating that the Receiver’s expenses are to receive priority

status for payment out of the receivership funds. The Receiver echoes the FTC’s concern that the

 

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receivership funds are being used to pay the Corporate Defendants’ counsel instead of being
preserved for distribution to injured consumers

The Corporate Defendants assert that their due process rights will be violated if funds are
not distributed to pay counsel, but they cite no authority for that proposition The United States
Supreme Court has held that in the context of a forfeiture of assets in a criminal case, “neither the
Fifth nor the Sixth Amendment to the Constitution requires Congress to permit a defendant to use
assets adjudged to be forfeitable to pay that defendant’s legal fees.” United States v. Monsanto,
491 U.S. 600, 614 (1989).1 The Ninth Circuit has repeatedly held that whether to allow the
payment of attorney’s fees out of frozen assets lies within the district court’s discretion. See
Commodl`ly Futures Traa'z`ng Comm ’n v. N0ble Metals Im"l, Inc., 67 F.3d 766, 775 (9th Cir. 1995)
(“A district court may, within its discretion, forbid or limit payment of attorney fees out of frozen
assets.”); Fea'. Sav. & Loan Ins. Corp. v. Ferm, 909 F.2d 372, 374 (9th Cir. 1990) (“Appellate
court decisions . . . have consistently permitted district courts to limit or to review the amount
payable to attorneys from frozen assets before a final judgment on the merits has been reached.”);
F. T.C. v. World Wz`a'e Factors, er., 882 F.2d 344, 347 (9th Cir. 1989) (“Courts regularly have
frozen assets and denied attorney fees or limited the amount for attorney fees.”). “These
decisions recognized the importance of preserving the integrity of disputed assets to ensure that
such assets are not squandered by one party to the potential detriment of another.” Ferm, 909 F.2d
at 374.

Here, l have already determined that the FTC has demonstrated a likelihood of succeeding
on the merits. ECF No. 56 at 5-6. Consumer redress, should the FTC ultimately prevail, will

come largely from the frozen assets, which assets are significantly less than the probable amount

 

l The Supreme Court more recently held that “pretrial restraint of legitimate, untainted assets
needed to retain counsel of choice violates the Sixth Amendment.” Luis v. United States, 136 S. Ct. 1083,
1088 (2016). That case has no application here because the Corporate Defendants have no Sixth
Amendment rights in this civil action. Turner v. Rogers, 564 U.S. 431, 441 (2011)(stating “the Sixth
Amendment does not govern civil cases”). Further, l have already determined that the FTC has
demonstrated a likelihood of success on the merits. ECF No. 56. The Corporate Defendants have
presented no evidence that the frozen funds are anything other than proceeds of the alleged fraudulent
scheme Thus, the Corporate Defendants’ frozen assets do not qualify as legitimate or untainted.

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of consumer harm. Those factors weigh heavily against a discretionary release of funds to pay
the Corporate Defendants’ attorney’s fees. The Corporate Defendants’ request for a monthly
allowance of $30,000 is unreasonable on its face in light of the limited amount of the frozen
assets in comparison to the likely consumer injury. See Noble Memls Inr’l, Inc., 67 F.3d at 775
(stating the fact that consumer losses far exceeded the frozen assets may be “reason enough”
under the circumstances to deny the use of frozen assets to pay the defendants’ attorney’s fees).

The Corporate Defendants’ counsel knew when they took the case that the defendants
were subject to an asset freeze. ECF Nos. 16 (TRO); 33 (verifled petition for attorney Ruscitti),
24 (verified petition for attorney Wild). The Corporate Defendants’ attorneys thus took a known
risk of nonpayment

However, the attorneys have not gone unpaid. There is some evidence that McNea and
his corporate entities have access to other sources of funding. McNea paid his attorneys $50,000
already. The Corporate Defendants assert that the 850,000 retainer was depleted, but they
provide no evidence that in addition to the 836,7002 they now request, another $50,000 was
expended just in the preliminary injunction phase. ECF No. 82 at 3.

Although many factors weigh against allowing any disbursement for attorney’s fees, at
least some of the Corporate Defendants may have viable defenses to liability. The Corporate
Defendants can appear in this action only through counsel. See In re Am. W. Az`rlines, 40 F.3d
105 8, 1059 (9th Cir. 1994) (“Corporations and other unincorporated associations must appear in
court through an attorney.”). Consequently, in my discretion, l will allow a one-time distribution
of $50,000.

lT lS THEREFORE ORDERED that the Corporate Defendants’ emergency motion for
limited modification of asset freeze (ECF No. 65) is GRANTED in part.
lT IS ORDERED that the Receiver shall distribute $50,000 to the Corporate Defendants’

counsel, Claude Wild, 111 for attorney’s fees incurred in representing the Corporate Defendants

 

2 The Corporate Defendants indicate that attorney Wild has agreed to reduce his billing rate from
$450 to $300, but the billing records submitted in camera request a $400 billing rate ($36,700 divided by
91.75 hours).

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only. The Receiver has the discretion to determine from which account owned by the Corporate
Defendants to withdraw the funds.

IT IS FURTHER ORDERED that if the Corporate Defendants seek further distributions
for attorney’s fees, those requests must be supported with an in camera submission of billing
statements along with a strategy for moving forward in the case for the Corporate Defendants.
The Corporate Defendants and their counsel are on notice that there is no guarantee that future
requests for disbursements for attorney’s fees will be approved

DATED this 6th day of October, 2017.

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ANDREW P. GORDON
UNITED STATES DISTRICT JUDGE

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